     Case 6:18-mc-00023-RBD Document 3 Filed 04/26/18 Page 1 of 2 PageID 27



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In Re:

CLAUDIO CIPEDA,

         Debtor.

                                                  Bankr. Case Nos. No. 6:17-bk-1326-CCJ
                                                                       6:18-ap-0007-CCJ

_____________________________________

FOREIGN DIRECT INVESTMENT,
LLC,

                      Plaintiff,
v.                                                         Case No. 6:18-mc-00023-Orl-37

ARVIND MAHENDRU,

                      Defendant.


                           AMENDED SHOW CAUSE ORDER 1

         This action is before the Court sua sponte. On March 6, 2018, Plaintiff moved to

withdraw reference of adversary proceeding, pursuant to 28 U.S.C. § 157(d), Federal Rule

of Bankruptcy Procedure 5011(a), and Local Bankruptcy Rule 5011-1. (See Doc. 1-1, p. 2;

see also Doc. 1 (“Motion”). Defendant was required to file a response to Plaintiff’s Motion

no later than March 20, 2018. See Bankr. Local Rule 5011-1(e) (providing that “opposing




         Upon review, the Court finds that the previously entered Order (Doc. 2) is due
         1

to be vacated and replaced with this Amended Show Cause Order due to a scrivener’s
error in the caption.
   Case 6:18-mc-00023-RBD Document 3 Filed 04/26/18 Page 2 of 2 PageID 28



parties shall have 14 days after the entry of [a] motion [to withdraw reference] . . . to file

a responsive pleading and legal memorandum”).

       Having received no response from Defendant within the time frame permitted,

the Bankruptcy Court transmitted the Motion to this Court, pursuant to Bankruptcy Local

Rule 5011-1(f). (See Doc. 1-3). To date, no response has been filed.

       Accordingly is hereby ORDERED and ADJUDGED that:

       (1)    On or before May 4, 2018, Defendant Arvind Mahendru shall show cause

              why the Court should not grant Plaintiff’s Motion.

       (2)    If Defendant fails to timely respond to this Show Cause Order, the Court

              will grant Plaintiff’s Motion as unopposed and will direct the Clerk to close

              this action.

       (3)    The Clerk is DIRECTED to properly re-style the caption of this case to

              reflect Foreign Direct Investment, LLC as the plaintiff and Arvind

              Mahendru as the defendant.

       (4)    The Order entered April 26, 2018 (Doc. 2) is VACATED, and the Clerk is

              DIRECTED TO REMOVE the vacated order from the record.

       DONE AND ORDERED in Chambers in Orlando, Florida, on April 26, 2018.




Copies to:
Counsel of Record
